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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


STEVEN P. MEERSCHAERT,

             Plaintiff,
                                                Case No. 2:21-cv-11205-TGB-DRG
v.

ASCENSION HEALTH, a Missouri not for profit
corporation, and ASCENSION BRIGHTON
CENTER FOR RECOVERY, a Michigan not
for profit corporation,

          Defendants.
__________________________________________________________________

 SOMMERS SCHWARTZ, P.C.            JACKSON LEWIS, P.C.
 Daniel D. Swanson (P29288)        Maurice Jenkins (P33083)
 Jenna H. Sheena (P84645)          Elyse Culberson (P82132)
 Attorneys for Plaintiff           Attorneys for Defendants
 One Towne Square, Suite 1700      2000 Town Center, Suite 1650
 Southfield, Michigan 48076        Southfield, Michigan 48076
 (248) 355-0300                    (248) 936-1900
 dswanson@sommerspc.com            maurice.jenkins@jacksonlewis.com
 jsheena@sommerspc.com             elyse.culberson@jacksonlewis.com
__________________________________________________________________

                             ORDER OF DISMISSAL

      This matter having come before the Court upon stipulation of the parties, and

this Court being otherwise fully advised in the premises:




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      IT IS HEREBY ORDERED that the above- captioned case is dismissed with

prejudice and without costs or other fees to any party. This order resolves the last

pending claim and closes the case.

      IT IS SO ORDERED.


                                             /s/Terrence G. Berg
                                             HON. TERRENCE G. BERG
                                             United States District Judge


Dated: January 26, 2022


STIPULATED AND AGREED TO:

/s/ Jenna H. Sheena                   /s/ Maurice G. Jenkins (w/consent (MGJ))
Jenna H. Sheena (P84645)              Maurice G. Jenkins (P33083)
Attorney for Plaintiff                Attorney for Defendant
Dated: January 26, 2022               Dated: January 26, 2022


Dated: January 26, 2022




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